    Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 1 of 52




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA


RENATA SINGLETON ET AL.                               CIVIL ACTION


VERSUS                                                NO: 17-10721


LEON CANNIZZARO ET AL.                                SECTION: “H”



                         ORDER AND REASONS
      Before the Court is Defendants’ Joint Motion to Dismiss (Doc. 63). For
the following reasons, the Motion is GRANTED IN PART.


                              BACKGROUND
      At its core, this lawsuit alleges that the Orleans Parish District
Attorney’s Office unlawfully compelled victims and witnesses of crimes to
cooperate with prosecutors. Those who failed to comply with prosecutors’
requests were allegedly threatened, harassed, and, in some cases, jailed.
Plaintiffs in this case include eight people—victims of and witnesses to
crimes—and an organization that advocates on behalf of crime victims.
      The primary tool that prosecutors allegedly used to compel cooperation
was a document manufactured by the District Attorney’s Office (“DA’s Office”)
to look like a court-ordered subpoena that was, in fact, nothing more than an
invitation by prosecutors to meet with them outside of court. Prosecutors often
threatened witnesses with jail time for failure to comply with these


                                      1
       Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 2 of 52




“subpoenas.” 1 Because the “subpoenas” were not actually approved by a judge,
but instead were engineered by prosecutors, the documents did not give anyone
the authority to fine or jail witnesses who failed to appear. Nevertheless,
prosecutors often followed up on their threats by asking judges to jail witnesses
on material witness warrants. 2
         The Plaintiffs allege that the DA’s Office operated this system for years,
and it was not until The Lens published an exposé about the issue in the spring
of 2017 that the practice became widely known. 3 Orleans Parish District
Attorney Leon Cannizzaro and his office faced intense public criticism after the
practice was publicly exposed. 4 Armed with knowledge of the alleged scheme,
Plaintiffs filed their initial Complaint in this Court on October 17, 2017. 5 A few
months later, on January 25, 2018, Plaintiffs filed an Amended Complaint. 6
Plaintiffs seek monetary and injunctive relief for alleged violations of federal
and state law by the Defendants. The federal claims include violations of the
First, Fourth, and Fourteenth Amendments under 42 U.S.C. § 1983. The
Louisiana state law claims include allegations of abuse of process and fraud.
         The Plaintiffs in this suit include Renata Singleton, Marc Mitchell,
Lazonia Baham, Jane Doe, Tiffany LaCroix, Fayona Bailey, John Roe, and
Silence is Violence (“SIV”), a non-profit victim advocacy group based in Orleans



1   The “fake subpoenas” described in the pleadings and briefs in this matter are referred to
    as “subpoenas” in quotation marks throughout this Order and Reasons.
2   See LA. REV. STAT. § 15:257. A material witness warrant, which must be signed by a judge,
    allows prosecutors to arrest and jail uncooperative witnesses who are “essential” to a case
    after it has been shown that “it may become impracticable to secure the presence of the
    [witness] by subpoena . . .” Id. The witness must remain jailed until either he appears in
    court and posts bail or testifies in the criminal matter so as to moot the alleged non-
    cooperation. Id.
3   See Doc. 52 at 17.
4   See id. at 17–18.
5   Doc. 1.
6   Doc. 52.

                                               2
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 3 of 52




Parish. The Defendants, all prosecutors at the Orleans Parish District
Attorney’s Office, include Cannizzaro, First Assistant District Attorney
Graymond Martin, Assistant District Attorney and Chief of Trials David Pipes,
and Assistant District Attorneys Iain Dover, Jason Napoli, Arthur Mitchell,
Tiffany Tucker, Michael Trummel, Matthew Hamilton, Inga Petrovich, Laura
Rodrigue, Sarah Dawkins, and John Doe. 7 For context, the allegations
underlying the claims of each of the Plaintiffs are described below.
        Plaintiff Renata Singleton was the victim in a domestic violence incident
in 2014 involving her ex-boyfriend, Vernon Crossley. Singleton alleges that the
DA’s Office sent her two “subpoenas” after she told a victim-witness advocate
that she did not want to pursue charges against Crossley or participate in any
prosecution of him. Acting on the advice of a friend in law enforcement who
told Singleton she had not been properly served because the “subpoenas” were
left at her door, Singleton did not comply with the requests in the “subpoenas.”
In response, Defendant ADA Mitchell sought a material witness warrant for
Singleton. A judge granted Mitchell’s request, and Singleton spent five days in
jail on a $100,000 bond before ultimately being released.
        Plaintiff Marc Mitchell was shot in 2014 while playing basketball with
his nephews. He testified against Jonterry Bernard, the shooter. Bernard was
convicted on a charge of attempted murder and sentenced to prison. The DA’s
Office also charged another man, Gerard Gray, with attempted murder in the
shooting on the theory that Gray ordered Bernard to shoot Mitchell. In
multiple meetings with prosecutors, Mitchell told the prosecutors that he did
not know whether Gray ordered Bernard to shoot him. According to Mitchell,
prosecutors continued to question him about his recollection of the events



7   This Court will use the term “Individual Defendants” to refer to all the ADAs plus
    Cannizzaro insofar as Plaintiffs make claims against him in his individual capacity.

                                            3
    Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 4 of 52




leading up to the shooting. Mitchell ultimately quit cooperating with the
prosecutors, and ADA Trummel and ADA Hamilton worked together to have a
material witness warrant issued for Mitchell’s arrest. Police arrested Mitchell
in the lobby of the hotel where he worked, and he spent a day in jail on a
$50,000 bond before being released.
      Plaintiff Lazonia Baham was wanted for questioning by the DA’s office
in the 2013 killing of her daughter’s boyfriend. Baham alleges that prosecutors
wanted her to testify that she saw Isaac Jones, the defendant in the murder
case, near the scene of the murder. She repeatedly told prosecutors that she
only saw Jones near her house, not near the murder scene. Baham ultimately
stopped taking calls from the DA’s office, and ADA Napoli sought a material
witness warrant for her arrest. Police arrested Baham a few days after
Christmas Day in 2015 while she was sick. She spent a total of eight days jailed
on the warrant before being released.
      Plaintiff Jane Doe was the victim of molestation of a juvenile and child
pornography. Doe alleges that the DA’s Office in 2016 delivered a “subpoena”
to her home demanding that she appear at their office to meet with
prosecutors. Doe ultimately complied with their request after ADA Dover
allegedly threatened Doe at her high school and later arrived in court with a
material witness warrant application threatening to jail Doe.
      Plaintiffs Fayona Bailey and Tiffany LaCroix were potential witnesses
in different murder cases who allegedly received “subpoenas” from the DA’s
Office. Both ultimately hired a lawyer to challenge the “subpoenas,” and their
challenges were successful. Plaintiffs allege that ADA Petrovich sent the
“subpoena” to Bailey around March 2017, and that ADA Rodrigue sent the
“subpoena” to LaCroix in November 2016.




                                        4
       Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 5 of 52




         Plaintiff John Roe was attacked with a rifle in January 2016, and Roe’s
friend was murdered the next day. Police identified Michael Young as the
suspect in both the attack on Roe and the murder of Roe’s friend. Investigators
questioned Roe about the incidents, and he cooperated with them. Although
Roe provided police with his contact information at the time, he later moved
and changed his phone number. Numerous subpoenas were sent to Roe’s
former address, but he alleges that he did not receive them. Nevertheless, Roe
alleges that he was “not difficult to find” at the time because he maintains a
Facebook account under his name. 8 Having failed to reach Roe, ADA Dawkins
in August 2017 applied for a material witness warrant seeking Roe’s arrest. A
judge granted the request, and Roe spent three days in jail before being
released.
         Plaintiff SIV alleges that it has been threatened by Cannizzaro on
multiple occasions and that it has been forced to alter the focus of its
organizational mission—from generally advocating for victims of violent crime
to protecting those same victims from zealous prosecutors—because of the DA’s
Office’s use of “subpoenas” and other intimidating tactics.
         On March 1, 2018, the Defendants filed a Joint Motion to Dismiss the
claims of all Plaintiffs under Rule 12(b)(6). 9 The Defendants argue first that
many of the Individual Defendants enjoy absolute immunity for the claims
asserted against them. To the extent that any of the Individual Defendants’
conduct is not absolutely immune from civil suit, Defendants argue that they
enjoy qualified immunity. Defendants further argue that many claims are
prescribed, and finally, for any remaining claims, that Plaintiffs fail to state a




8   Doc. 52 at 59.
9   See Doc. 63.

                                        5
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 6 of 52




claim on which relief may be granted. Plaintiffs oppose. Oral argument was
held before this Court on May 9, 2018.


                                 LEGAL STANDARD
       To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must plead
enough facts to “state a claim for relief that is plausible on its face.” 10 A claim
is “plausible on its face” when the pleaded facts allow the court to “draw the
reasonable inference that the defendant is liable for the misconduct alleged.” 11
A court must accept the complaint’s factual allegations as true and must “draw
all reasonable inferences in the plaintiff’s favor.” 12 A court need not, however,
accept as true legal conclusions couched as factual allegations. 13 To be legally
sufficient, a complaint must establish more than a “sheer possibility” that the
plaintiff’s claims are true. 14 If it is apparent from the face of the complaint that
an insurmountable bar to relief exists and the plaintiff is not entitled to relief,
the court must dismiss the claim. 15


                                LAW AND ANALYSIS
       This Court will first address the extent to which the Individual
Defendants enjoy absolute immunity from federal law claims by Plaintiffs
other than SIV before turning to whether any of the remaining federal claims
by those same Plaintiffs are barred by qualified immunity. 16 The Court will


10 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.
   544, 570 (2007)).
11 Id. (citing Twombly, 550 U.S. at 556).
12 Lormand v. U.S. Unwired, Inc., 565 F.3d 228, 232 (5th Cir. 2009).
13 Iqbal, 556 U.S. 662 at 678.
14 Id.
15 Lormand, 565 F.3d 228 at 255–57.
16 To the extent that this Court finds that any of the Plaintiffs have alleged a constitutional

   violation for qualified immunity purposes, this Court will note that such a finding defeats
   Defendants’ 12(b)(6) challenges to the same claims.

                                              6
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 7 of 52




then analyze Defendants’ 12(b)(6) challenges to those remaining federal claims
by all Plaintiffs except SIV. Next, the Court will turn to Defendants’ motion to
dismiss the individual Plaintiffs’ state law claims and SIV’s federal and state
claims. Finally, the Court will consider Defendants’ argument that many of
Plaintiffs’ claims are time-barred.
I.     Absolute Immunity
       Defendants argue that virtually all of Plaintiffs’ claims for monetary
damages are barred by absolute immunity. 17 Because determining whether a
prosecutor enjoys absolute immunity turns on “the nature of the function
performed” by the prosecutor, 18 this Court must analyze the “specific activities
that give rise to the cause of action.” 19 In other words, absolute immunity
attaches to specific conduct, not specific claims. 20 If specific conduct is
protected by absolute immunity, and that same conduct forms either a crucial
foundation for or the entire basis of certain claims, a finding of absolute
immunity may well defeat certain claims on a 12(b)(6) motion.
       Plaintiffs identify five categories of conduct performed by the Individual
Defendants that form the basis of their claims. 21 The categories include: (1) the
creation and use of “subpoenas” to induce witnesses to meet with prosecutors
outside of court; (2) verbal and written threats made to witnesses; (3) the
misuse of material witness arrest warrants for investigative ends; and (4) the




17 See Doc. 63.
18 Loupe v. O’Bannon, 824 F.3d 534, 539 (5th Cir. 2016) (quoting Buckley v. Fitzsimmons,
   509 U.S. 259, 273 (1993)).
19 Loughlin v. Tweed, No. 15-649, 2015 WL 3646777, at *5 (E.D. La. June 10, 2015) (Feldman,

   J.) (citing Buckley, 509 U.S. at 259).
20 See Moon v. City of El Paso, 906 F.3d 352, 359 (5th Cir. 2018) (“Absolute immunity is not

   a rigid, formal doctrine, but attaches to the functions a prosecutor performs.”).
21 See Doc. 67 at 16.



                                             7
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 8 of 52




failure to supervise. 22 This Court will analyze whether each type of conduct is
covered by absolute immunity.
       a. An Overview of Absolute Immunity
       In 1976, the U.S. Supreme Court in Imbler v. Pachtman extended the
common law doctrine of absolute immunity to prosecutors. 23 Under Imbler,
prosecutors enjoy absolute immunity from § 1983 claims seeking damages from
individuals that arise from prosecutorial conduct “intimately associated with
the judicial phase of the criminal process.” 24 “Thus, ‘the actions of a prosecutor
are not absolutely immune merely because they are performed by a
prosecutor.’” 25 On the one hand, “[a] prosecutor is absolutely immune for
initiating and pursuing a criminal prosecution, for actions taken in her role as
‘advocate for the state’ in the courts, or when her conduct is ‘intimately
associated with the judicial phase of the criminal process.’” 26 “On the other
hand, a prosecutor is afforded only qualified immunity for acts performed in
the course of ‘administrative duties and those investigatory functions that do
not relate to an advocate’s preparation for the initiation of a prosecution or for
judicial proceedings.’” 27 The Individual Defendants bear the burden of proving




22 Doc. 67 at 16. Plaintiffs identify the prolonged detention of material witnesses as a fifth
   category of conduct that forms the basis of some of their claims. Because this Court finds
   that Plaintiffs fail to state a claim on which relief could be granted with regard to their
   prolonged detention claims, it need not decide whether prosecutors enjoy absolute
   immunity for the conduct underlying those claims. In any event, prosecutors would enjoy
   qualified immunity with regard to these claims because Plaintiffs have failed to allege a
   constitutional violation committed by the prosecutors.
23 424 U.S. 409, 427–29 (1976).
24 Loupe, 824 F.3d at 538 (5th Cir. 2016) (Imbler v. Pachtman, 424 U.S. 409, 430 (1976)).
25 Id. at 538–39 (quoting Buckley, 509 U.S. at 273).
26 Id. at 539 (quoting Hart v. O’Brien, 127 F.3d 424, 439 (5th Cir. 1997), abrogation on other

   grounds recognized by Spivey v. Robertson, 197 F.3d 772, 775–76 (5th Cir. 1999)); see also
   Buckley, 509 U.S. at 270.
27 Loupe, 824 F.3d at 539 (quoting Buckley, 509 U.S. at 273).



                                              8
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 9 of 52




that the “the conduct at issue served a prosecutorial function” such that it is
covered by absolute immunity. 28
       Two points bear mentioning here. First, absolute immunity only protects
individuals from claims for damages. 29 Thus, it does not bar Plaintiffs’ claims
for damages and injunctive relief against Cannizzaro in his official capacity,
nor does it bar claims against the Individual Defendants for injunctive relief.
Second, the Louisiana Supreme Court in Knapper v. Connick held that
prosecutors enjoy absolute immunity against state law claims in addition to
the immunity they enjoy from § 1983 claims. 30 The full scope of absolute
prosecutorial immunity under Louisiana law is not clear, 31 but the Louisiana
Supreme Court in Knapper cited heavily to federal law in its decision and
adopted the functional approach that federal courts employ when analyzing
prosecutorial absolute immunity issues. 32 For this reason, any conduct for
which prosecutors enjoy absolute immunity in this case will apply equally to
Plaintiffs’ federal and state law claims.


28 Hoog-Watson v. Guadalupe Cty., Tex., 591 F.3d 431, 437 (5th Cir. 2009) (quoting Buckley,
   509 U.S. at 274).
29 See Burge v. Par. of St. Tammany, 187 F.3d 452, 466 (5th Cir. 1999) (“The rule in this

   circuit is that a Louisiana district attorney, sued in his or her official capacity, is a local
   government official who is not entitled to Eleventh Amendment immunity.”); Chrissy F. by
   Medley v. Mississippi Dep’t of Pub. Welfare, 925 F.2d 844, 849 (5th Cir. 1991) (“Neither
   absolute nor qualified personal immunity extends to suits for injunctive or declaratory
   relief under § 1983.”) (citing Pulliam v. Allen, 466 U.S. 522, 541–42 (1984)).
30 See Knapper v. Connick, 681 So. 2d 944, 950–51 (La. 1996) (holding that prosecutors enjoy

   absolute immunity from state law malicious prosecution claims); State v. King, 956 So. 2d
   562, 572 (La. 2007) (J. Weimer, concurring) (“A district attorney is granted broad civil
   immunity.”) (citing Knapper, 681 So. 2d at 950).
31 See Lester v. Caddo Par., No. 15-2008, 2016 WL 6270767, at *5 (W.D. La. Oct. 26, 2016)

   (suggesting that the Louisiana Supreme Court merely “adopted the federal rules for
   absolute immunity for prosecutors” in Knapper); Spikes v. Phelps, 131 F. App’x 47, 49 (5th
   Cir. 2005) (noting that the Louisiana Supreme Court has not squarely addressed whether
   its state law doctrine of prosecutorial absolute immunity distinguishes between individual
   and official capacity claims).
32 See Knapper, 681 So. 2d at 946–51 (citing Imbler, 424 U.S. at 409; Buckley, 509 U.S. at 259;

   Burns; 500 U.S. at 478).

                                                9
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 10 of 52




       b. Functional Absolute Immunity Analysis for Each Category of
           Alleged Prosecutorial Misconduct
               i. Creation and Use of “Subpoenas”
       Plaintiffs Singleton, Doe, LaCroix, and Bailey allege that some of the
Individual Defendants created and delivered to them documents manufactured
to look like subpoenas that had not been approved by a judge. 33 Defendants
argue that absolute immunity shields prosecutors from liability for such
conduct because the prosecutors performed it as part of trial preparations in
active cases against criminal defendants—a quintessential prosecutorial
function entitled to absolute immunity. 34 Plaintiffs respond that the Individual
Defendants should not enjoy absolute immunity for such conduct because it is
actually “investigative,” not prosecutorial, and regardless the conduct occurred
while the Defendants “were acting outside of their authority as prosecutors.” 35
       In Loupe v. O’Bannon, the Fifth Circuit held that a prosecutor did not
enjoy absolute immunity for ordering the warrantless arrest of a witness just
moments after a judge had refused to jail the same witness. 36 The court
reasoned that such conduct was not protected by absolute immunity because it
was “not intimately associated with the judicial phase of the criminal



33 See Doc. 52. See also Doc. 52 at 83 (example of a “subpoena”).
34 See Doc. 63-1 at 32. The Defendants attach minute entries from state court proceedings to
   filings in this case to show that the “subpoenas” were all issued after the initial trial date
   in each underlying criminal prosecution. See Docs. 63-4, 63-9, 88-3. The entries support
   Defendants’ contention except in Baham’s case, but the order of Baham’s allegations in the
   Amended Complaint nevertheless suggests that the relevant conduct by prosecutors also
   took place after an initial trial setting had passed in the underlying criminal prosecution
   against Isaac Jones. See Doc. 52 at 49–52. In any event, this Court takes judicial notice of
   the minute entries, matters of public record, without converting Defendants’ 12(b)(6)
   motion to one for summary judgment. See Davis v. Bayless, 70 F.3d 367, 372 n.3 (5th Cir.
   1995).
35 See Doc. 67 at 17. See also Loupe, 824 F.3d at 540 (noting that absolute immunity for

   prosecutors does not extend to conduct performed “outside the judicial process”).
36 See Loupe, 824 F.3d at 536, 540.



                                              10
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 11 of 52




process.” 37 To support its reasoning in Loupe, the Fifth Circuit cited
approvingly to the Ninth Circuit’s decision in Lacey v. Maricopa County. 38 In
Lacey, the Ninth Circuit held that a prosecutor who issued subpoenas to grand
jury witnesses without receiving proper authorization from a court or grand
jury for the subpoenas was not entitled to absolute immunity for liability
stemming from such conduct. 39 The court in Lacey reasoned that a prosecutor
should not enjoy immunity when he “avoided taking the steps that would have
protected him from suit, perhaps precisely to avoid the scrutiny of the grand
jury or the court.” 40 The court explained further, “[w]here the prosecutor has
side-stepped the judicial process, he has forfeited the protections the law offers
to those who work within the process.” 41
       Like the prosecutors in Loupe and Lacey, Individual Defendants
Cannizzaro, Martin, Pipes, Mitchell, Napoli, Petrovich, Rodrigue, and Dover
side-stepped the judicial process to the extent that they created and
disseminated “subpoenas” to compel witnesses to meet with them outside of
court. Article 66 of the Louisiana Code of Criminal Procedure allows
prosecutors to seek a subpoena from a court ordering a witness to meet with
the prosecutor for questioning. 42 A prosecutor need only show “reasonable
grounds” to justify the subpoena’s issuance. 43 The power to issue the subpoena,
however, rests entirely with the court. 44 The statute preserves the court’s
discretion over the issuance of a subpoena by stating that the court “may order”




37 Id. at 540.
38 See id. at 540. (citing Lacey v. Maricopa Cty., 693 F.3d 896, 914 (9th Cir. 2012)).
39 Lacey, 693 F.3d at 913–14.
40 Id. at 914.
41 Id.
42 LA. CODE CRIM. P. art 66.
43 Id.
44 Id.



                                              11
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 12 of 52




that the subpoena be issued. 45 If a subpoena is issued, it is the clerk of court,
not the prosecutor, who issues it. 46 The comments to the article note that the
common practice before the adoption of the article was for district attorneys to
issue notices for questioning that could only be enforced through the threat of
further action, such as a grand jury subpoena. 47 There is no suggestion in the
statute that prosecutors now have, or have ever had, the power to issue
subpoenas themselves. 48
       Allegations that the Individual Defendants purported to subpoena
witnesses without court approval, therefore, describe more than a mere
procedural error or expansion of authority. Rather, they describe the
usurpation of the power of another branch of government. The “subpoena
template” allegedly disseminated by First ADA Martin includes language that
the recipient is “Hereby Notified pursuant to LSA-CCRP art. 66 to appear
before the District Attorney for the Parish of Orleans.” 49 Plaintiffs allege that
Defendants’ entire scheme operated outside of the process legally required by
the Louisiana Code of Criminal Procedure. 50 To find that such ultra vires
conduct is “intimately associated with the judicial phase of the criminal
process” would give no meaning to the “judicial phase” element of the
standard. 51
        Furthermore, that the alleged activity by the Individual Defendants
took place as a means to a prosecutorial end is not dispositive of the issue.


45 Id.
46 Id.
47 LA. CODE CRIM. P. art 66 cmt. (a).
48 See La. Att’y Gen. Op. No. 92-366 at 2 (June 23, 1992) (“[O]nly a court, a Clerk of court or

   a coroner have authority under Louisiana law to issue subpoenas. A district attorney may
   only request that a subpoena be issued. Therefore . . . a district attorney has no authority
   to issue any type of subpoena . . .”).
49 Doc. 52 at 83.
50 See id.
51 See Loupe, 824 F.3d at 540.



                                             12
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 13 of 52




Under that logic, virtually all activity engaged in by a prosecutor would be
absolutely immune from civil liability. The U.S. Supreme Court has rejected
expanding prosecutorial absolute immunity so broadly, noting in Burns v. Reed
that “[a]lmost any action by a prosecutor, including his or her direct
participation in purely investigative activity, could be said to be in some way
related to the ultimate decision whether to prosecute, but we have never
indicated that absolute immunity is that expansive.” 52 When it comes to
absolute immunity for prosecutors, “it is the interest in protecting the proper
functioning of the office, rather than the interest in protecting its occupant,
that is of primary importance.” 53 This Court finds that granting the Individual
Defendants absolute immunity for allegations of systematic fraud that
bypassed a court meant to check powerful prosecutors would not protect the
proper functioning of a district attorney’s office. It would instead grant
prosecutors a license to bypass the most basic legal checks on their authority.
The law does not grant prosecutors such a license.
       In Imbler, the Supreme Court justified expanding the common law
doctrine of absolute immunity to prosecutors by stating,
       It is fair to say, we think, that the honest prosecutor would face
       greater difficulty in meeting the standards of qualified immunity
       than other executive or administrative officials. Frequently acting
       under serious constraints of time and even information, a
       prosecutor inevitably makes many decisions that could engender
       colorable claims of constitutional deprivation. 54

The allegation that Defendant Martin disseminated a template of a “subpoena”
throughout the Orleans Parish District Attorney’s Office undermines any




52 Burns v. Reed, 500 U.S. 478, 495 (1991).
53 Loupe, 824 F.3d at 538 (quoting Kalina v. Fletcher, 522 U.S. 118, 125 (1997)).
54 Imbler, 424 U.S. at 425.



                                             13
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 14 of 52




suggestion that Plaintiffs’ allegations were the result of “serious constraints of
time.” 55 This is not the type of conduct absolute immunity is meant to protect.
       The Supreme Court in Imbler further reasoned that “[t]he affording of
only a qualified immunity to the prosecutor also could have an adverse effect
upon the functioning of the criminal justice system.” 56 Here, however, it was
prosecutors alleged misconduct that Plaintiffs say affected the proper
functioning of the criminal justice system. 57 As Justice White noted in his
concurrence in Imbler, “[w]here the reason for the rule extending absolute
immunity to prosecutors disappears, it would truly be ‘monstrous to deny
recovery.’” 58 This is just such a scenario. As such, the Individual Defendants
are not entitled to absolute immunity for their alleged role in creating or
delivering “subpoenas” to victims and witnesses of crimes.
              ii. Threatening Witnesses
       The second type of conduct underlying Plaintiffs’ claims involves “the use
of verbal and written threats to gain access to witnesses outside of court and
to influence witnesses’ testimony.” 59
                      1. Verbal Threats of Imprisonment by ADAs to
                          Plaintiffs
       Plaintiffs argue that threats of imprisonment allegedly made by several
of the Individual Defendants to several of the Plaintiffs should not be protected
by absolute immunity. 60 Defendants respond that absolute immunity extends


55 See Doc. 52 at 11–12, 80–82.
56 Imbler, 424 U.S. at 426.
57 Doc. 52 at 66 (“Silence Is Violence does not recommend that victims or their family

   members appear at the District Attorney’s Office without a Silence Is Violence
   representative present. This representative’s role is not only to advocate for the victim, but
   to serve as a witness if the victim is threatened, including with perjury, obstruction, or a
   material witness warrant for engaging in constitutionally protected activity.”).
58 Imbler, 424 U.S. at 445 (White, J., concurring in the judgment) (citation omitted).
59 Doc. 67 at 16.
60 See id. at 18–19.



                                              14
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 15 of 52




to the preparation of witnesses for criminal prosecutions, which includes
ensuring those such witnesses show up to testify at trial. 61
        Unlike the ultra vires creation and issuance of “subpoenas,” generalized
threats of imprisonment made by prosecutors do not necessarily fall so far
outside the criminal phase of the judicial process to warrant denial of absolute
immunity for such threats. Although the distinction is an admittedly fine one,
threatening to imprison a witness to compel cooperation in a criminal
prosecution while possessing the lawful means to follow through on that threat
is not the same as manufacturing documents in violation of the lawful process
for    obtaining     court-approved       subpoenas       for    witnesses.      Threatening
witnesses—particularly verbally—with imprisonment to further witness
cooperation in an active criminal prosecution seems to this Court to fall into
the category of “pursuing a criminal prosecution” as an “advocate for the
state.” 62 Holding that such conduct fell outside the protections of absolute
immunity would, in fact, potentially subject prosecutors to civil liability for
exercising authority they lawfully possess under the law of Louisiana and
many other states. The resulting restriction of prosecutorial discretion is
exactly the type of concern the Supreme Court expressed when it first
addressed the issue of absolute immunity for prosecutors under § 1983 in
Imbler. 63
        This is the result of applying a doctrine that at times “leave[es]
unaddressed the wrongs done by dishonest officers” as an alternative to
“subject[ing] those who try to do their duty to the constant dread of
retaliation.” 64 For these reasons, the Individual Defendants are absolutely


61 See Doc. 88 at 7.
62 See Loupe, 824 F.3d at 539.
63 See Imbler, 424 U.S. at 424–29.
64 Id. at 428 (quoting Gregoire v. Biddle, 177 F.2d 579, 581 (2d. Cir. 1949)).



                                              15
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 16 of 52




immune for threats of imprisonment made to Plaintiffs in active criminal
prosecutions.
                     2. Verbal Threats by Cannizzaro to SIV
       Separately, Plaintiff SIV asserts claims for damages against Defendant
Cannizzaro in his individual capacity based on allegations that he threatened
to prosecute SIV’s executive director for obstruction of justice or witness
coercion if she continued to encourage witnesses and victims to not cooperate
with prosecutors. “The decision to initiate . . . criminal charges is at the core of
the prosecutorial function.” 65 Because the Second Amended Complaint alleges
that Defendant Cannizzaro “sought to ‘persuade’ with [his] prosecutorial
power,” absolute prosecutorial immunity applies to that alleged conduct. 66
            iii. Use of Material Witness Warrants
       The third type of alleged prosecutorial misconduct involves allegations
that prosecutors lied in material witness warrant applications. 67 In a case
decided months after the parties’ briefed this Motion to Dismiss, the Fifth
Circuit in Doe v. Harris County considered whether prosecutors enjoy absolute
immunity when applying for material witness warrants. 68 The court held that
“the appearance of witnesses for trial is intimately associated with a
prosecutor’s advocacy,” and thus prosecutors are entitled to absolute immunity
from claims related to such conduct. 69 Because that is the exact type of conduct



65 McGruder v. Necaise, 733 F.2d 1146, 1148 (5th Cir. 1984).
66 Id.
67 See Simon v. City of New York, 727 F.3d 167, 174 (2d Cir. 2013) (“A material witness

   warrant serves the purpose of securing a witness’s presence at a trial or grand jury
   proceeding.”); Cooks v. Rapides Par. Indigent Def. Bd., 686 So. 2d 63, 65–66 (La. App. 3
   Cir. 1996) (noting that the purpose of Louisiana’s material witness statute is “to provide a
   procedure to prevent a material witness from removing himself from or from being taken
   from the jurisdiction of the court and to insure testimony from a material witness”).
68 See Doe v. Harris Cty., Texas, No. 18-20270, 2018 WL 6039171, at *2 (5th Cir. Nov. 16,

   2018).
69 Id. (citing Harris v. Dallas Cty. Dist. Attorney’s Office, 196 F.3d 1256 (5th Cir. 1999)).



                                             16
       Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 17 of 52




from which Plaintiffs’ claims arise here, the Individual Defendants enjoy
absolute immunity for this alleged conduct.
               iv. Failure to Supervise
         Plaintiffs seek to hold Defendants Cannizzaro, Martin, and Pipes
individually liable for supervising assistant district attorneys in a way that
allowed constitutional violations to flourish, and Plaintiffs seek to hold all
Individual Defendants liable for their failure to intervene in the matter.
Supervising prosecutors enjoy absolute immunity for claims arising from
allegations that they failed to properly train or prevent unlawful conduct when
the underlying conduct would be protected by absolute immunity. 70 This Court
believes that the same rule should extend to claims of failure to intervene.
Therefore, Defendants Cannizzaro, Martin, and Pipes are absolutely immune
from damages for their failure to supervise all conduct underlying Plaintiffs’
claims except the creation and issuance of “subpoenas.”
         For the reasons explained above, the Individual Defendants enjoy
absolute immunity for claims seeking damages based on alleged: (1) verbal
threats of imprisonment made to Plaintiffs and verbal threats of criminal
prosecution made to SIV’s director; (2) misstatements or omissions in
applications for material witness warrants and general abuses of the material
witness warrant process; and (3) failures to supervise or intervene in the
aforementioned conduct. The Individual Defendants are not absolutely
immune for claims seeking damages based on allegations of: (1) creating or
issuing “subpoenas” to Plaintiffs and (2) failures to supervise or intervene in
the aforementioned conduct.




70   See Van de Kamp v. Goldstein, 555 U.S. 335, 345–48 (2009).

                                             17
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 18 of 52




II.     Qualified Immunity
        Defendants argue that to the extent their conduct is not covered by
absolute immunity, it is covered by qualified immunity. Therefore, the Court
will now analyze whether the Individual Defendants enjoy qualified immunity
from claims for which they do not enjoy absolute immunity.
        “Qualified immunity shields government officials from civil damages
liability unless the official violated a statutory or constitutional right that was
clearly established at the time of the challenged conduct.” 71 “A Government
official’s conduct violates clearly established law when, at the time of the
challenged conduct, ‘[t]he contours of [a] right [are] sufficiently clear’ that
every ‘reasonable official would have understood that what he is doing violates
that right.’” 72 The Supreme Court does “not require a case directly on point,
but existing precedent must have placed the statutory or constitutional
question beyond debate.” 73 The Court has instructed lower courts “not to define
clearly established law at a high level of generality.” 74
        a. Fourth Amendment Unlawful Subpoena Claims
        Plaintiffs LaCroix, Bailey, and Doe allege that Defendants Dover,
Petrovich, Rodrigue, and Martin violated the Fourth Amendment by
compelling the Plaintiffs to meet with them outside of court through the use of
“subpoenas.” 75 Defendants argue that they enjoy qualified immunity for the
conduct alleged in these claims because Plaintiffs were not “seized” for Fourth
Amendment purposes. 76 Even if seizures occurred, Defendants argue, because


71 Heaney v. Roberts, 846 F.3d 795, 801 (5th Cir. 2017) (quoting Reichle v. Howards, 566 U.S.
   658, 664 (2012)).
72 Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011) (quoting Anderson v. Creighton, 483 U.S. 635,

   640 (1987)).
73 Id. at 741.
74 Id. at 742.
75 See Doc. 52 at 69. The same claims also are made against Cannizzaro in his official capacity.
76 See Doc. 63-1 at 32–35.



                                              18
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 19 of 52




the law was not clear at the time of the alleged conduct regarding whether a
potential witness in a criminal case has a right to refuse to meet with
prosecutors, qualified immunity should still apply.
       “There is a clearly established right to be free from unreasonable
seizures under the Fourth Amendment.” 77 Nevertheless, a “seizure” must in
fact occur for a violation to exist. 78 “A person is ‘seized’ for Fourth Amendment
purposes ‘when [an] officer, by means of physical force or show of authority,
has in some way restrained the liberty of the citizen.’” 79 “A seizure occurs ‘only
if, in view of all of the circumstances surrounding the incident, a reasonable
person would have believed that they were not free to leave.’” 80 Even voluntary
submissions to a show of state authority can constitute seizures for Fourth
Amendment purposes. 81
              i. Plaintiffs Bailey and LaCroix
       Bailey alleges that ADA Petrovich seized her in violation of the Fourth
Amendment by issuing a “subpoena” that demanded she meet with
prosecutors, which forced Bailey to hire a private attorney to challenge the
“subpoena.” 82 Bailey alleges that she did not feel at liberty to travel until the
“subpoena” was dealt with. 83 LaCroix makes similar claims against ADA
Rodrigue. 84 The Defendants respond that neither Bailey nor LaCroix was ever
seized for Fourth Amendment purposes because neither Plaintiff ever complied



77 Heaney, 846 F.3d at 801 (citing Michigan v. Summers, 452 U.S. 692, 696 (1981)). See U.S.
   Const. amend. IV.
78 See Terry v. Ohio, 392 U.S. 1, 16 (1968).
79 McLin v. Ard, 866 F.3d 682, 691 (5th Cir. 2017) (quoting Terry, 392 U.S. at 19 n.16).
80 Id. (quoting Michigan v. Chesternut, 486 U.S. 567, 573 (1988)).
81 Id. at 691–94 (collecting cases) (holding that voluntary surrender to arrest warrants at a

   sheriff’s office constituted a seizure for Fourth Amendment purposes).
82 See Doc. 52 at 55.
83 See id. at 56.
84 See id. at 56–57. The Plaintiffs also claim ADA Martin violated the Fourth Amendment by

   instructing ADAs to use the “subpoenas.” See id. at 69.

                                             19
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 20 of 52




with the “subpoena.” That is, neither Plaintiff ever met with prosecutors after
receiving a “subpoena.”
       Plaintiffs cite to no authority suggesting that the mere delivery of a
document purporting to require a meeting with prosecutors constitutes a
Fourth Amendment seizure. 85 Substantial case law indicates that such conduct
likely does not rise to the level of a seizure for Fourth Amendment purposes. 86
As such, Plaintiffs have failed to show that a constitutional violation occurred.
Even if Plaintiffs’ apprehension of travel caused by the issuance of the
“subpoena” constituted a seizure, the Individual Defendants still would enjoy
qualified immunity on these claims because Plaintiffs fail to show that
witnesses to crimes possess a clearly established constitutional right to refuse
to speak with prosecutors.
       Further, refusing to appear does not qualify as a seizure. Although a
seizure may occur absent physical force, no matter the circumstances,
“submission to [an] assertion of authority is necessary.” 87 Here, Plaintiffs
argue they “submitted” to the prosecutors’ show                            of authority—the
“subpoenas”—by hiring an attorney to challenge the documents. 88 But
disputing a show of authority does not involve submission. Plaintiffs’ challenge


85 The only case referenced by Plaintiffs in this regard is California v. Hodari D., 499 U.S.
   621 (1991), which is distinguishable from this case. Doc. 67 at 38.
86 See Hodari D., 499 U.S. at 625–29 (suggesting that a seizure cannot occur where a plaintiff

   fails to comply with an official’s show of authority); Martinez v. Carr, 479 F.3d 1292, 1299
   (10th Cir. 2007) (“[T]he issuance of a citation, even under threat of jail if not accepted, does
   not rise to the level of a Fourth Amendment seizure.”); Britton v. Maloney, 196 F.3d 24,
   29–30 (1st Cir. 1999) (“Terry cannot be read to mean that the issuance of a summons (any
   more than a testimonial subpoena or a call to jury duty) would constitute a seizure simply
   because it threatens a citizen with the possibility of confinement if he fails to appear in
   court.”).
87 McLin, 866 F.3d at 691 (quoting Hodari D., 499 U.S. at 626) (emphasis in original) (internal

   quotations omitted).
88 Doc. 67 at 38–39 (“Plaintiffs submitted to the fraudulent subpoenas by treating them as

   they would real ones and undertaking the time, expense, and travel necessary to hire an
   attorney to challenge them.”).

                                               20
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 21 of 52




to the “subpoena” represented a show of defiance, the antithesis of submission.
Accordingly, because neither Baham nor LaCroix was ever physically confined,
nor did they ever submit to prosecutors’ show of authority, their Fourth
Amendment rights were not violated. Thus, the Individual Defendants enjoy
qualified immunity from claims for monetary damages by Plaintiffs Bailey and
LaCroix alleging that their receipt of “subpoenas” violated their Fourth
Amendment rights. 89
              ii. Plaintiff Doe
       Unlike Bailey and LaCroix, Plaintiff Doe eventually met with
prosecutors after allegedly receiving two “subpoenas.” The meeting, however,
occurred pursuant to a court order, not in response to the receipt of a
“subpoena.” 90 The question, then, is whether Doe’s submission to the court’s
show of authority was unlawful. The allegations made by Doe, however, focus
on the show of authority by prosecutors, not the court. Doe has thus failed to
allege a Fourth Amendment violation by prosecutors in this regard, and the
Individual Defendants enjoy qualified immunity from this claim. 91
       b. First Amendment Claims
               i. Compelled Speech Claims
       Plaintiffs Baham, Mitchell, Singleton, Doe, and Roe allege that they
were compelled to speak with prosecutors against their will by the Defendants
in violation of the First Amendment. 92 Additionally, Plaintiffs Bailey and



89 Because Plaintiffs Bailey and LaCroix fail to allege a constitutional violation in this regard,
   they also have failed to state a Fourth Amendment claim based on the alleged receipt of
   “subpoenas” upon which relief could be granted. Accordingly, these claims are dismissed.
90 See Doc. 52 at 54 (“The court ordered [Doe’s attorney] to arrange a meeting for Ms. Doe to

   meet with prosecutors.”).
91 Because the Amended Complaint alleges sufficient facts to show that Cannizzaro had a

   policy of using “subpoenas” in violation of the Fourth Amendment rights of witnesses and
   victims of crimes, Doe’s claims for injunctive relief survive Defendants’ Motion to Dismiss.
92 Doc. 52 at 70.



                                               21
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 22 of 52




LaCroix claim that Cannizzaro’s allegedly unlawful policy of compelling
witnesses to speak with prosecutors violated their First Amendment rights
even though they did not actually speak with prosecutors in response to
“subpoenas.” 93 Defendants argue that they enjoy qualified immunity from such
claims because no constitutional violation occurred and, even if it did, the
Defendants did not violate a “clearly established” right.
       “[T]he right of freedom of thought protected by the First Amendment
against state action includes both the right to speak freely and the right to
refrain from speaking at all.” 94 But “the First Amendment’s guarantee of
freedom from ‘compelled speech’ is not absolute.” 95 Indeed, if the First
Amendment prohibited courts from compelling material witnesses to testify,
then all material witness warrant statutes would violate the Constitution. 96
       At issue here is whether prosecutors’ use of “subpoenas” to compel
witnesses into meeting privately with prosecutors outside of court violates the
First Amendment’s compelled speech doctrine. Neither the Supreme Court nor
the Fifth Circuit has provided a clear standard for analyzing compelled speech
claims in this context. The Fifth Circuit has suggested that the government
can defeat a compelled speech claim by showing that “essential operations of
government require [the speech] for the preservation of an orderly society—as
in the case of compulsion to give evidence in court.” 97 The Second Circuit,
however, has held that “the First Amendment right not to speak protects the



93 Id.
94 Wooley v. Maynard, 430 U.S. 705, 714 (1977).
95 Entm’t Software Ass’n v. Blagojevich, 469 F.3d 641, 651 (7th Cir. 2006).
96 See W. Virginia State Bd. of Educ. v. Barnette, 319 U.S. 624, 645 (1943) (Murphy, J.,

   concurring) (explaining that “the right to refrain from speaking at all” can be overcome
   when “essential operations of government may require it for the preservation of an orderly
   society—as in the case of compulsion to give evidence in court.”).
97 United States v. Arnold, 740 F.3d 1032, 1035 (5th Cir. 2014) (quoting United States v.

   Sindel, 53 F.3d 874, 878 (8th Cir. 1995)) (internal quotations omitted).

                                             22
     Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 23 of 52




right to refuse to make false statements to the government,” 98 and that “the
right not to speak may be abrogated only under carefully policed
circumstances.” 99
       This Court need not decide today whether any of the Defendants violated
any of the Plaintiffs’ First Amendment rights by compelling witnesses into
meeting privately outside of court to discuss active criminal cases through the
use of “subpoenas.” Plaintiffs fail to show that witnesses possess a clearly
established right under the First Amendment to refuse to speak to prosecutors
about active criminal cases. For that reason, the Individual Defendants enjoy
qualified immunity from Plaintiffs’ First Amendment compelled speech claims
for damages.
             ii. Retaliation Claims
       Plaintiffs allege that Defendants retaliated against them for exercising
their First Amendment right to refuse to speak. 100 Defendants argue that the
Individual Defendants enjoy qualified immunity from these claims to the
extent they seek monetary damages from the Individual Defendants. 101
       “The First Amendment prohibits not only direct limits on individual
speech but also adverse governmental action against an individual in
retaliation for the exercise of protected speech activities.” 102 To establish a
First Amendment retaliation claim, a plaintiff in the Fifth Circuit must show:
(1) that she engaged in constitutionally protected activity; (2) that the
defendant’s actions caused her “to suffer an injury that would chill a person of
ordinary firmness from continuing the engage in that activity;” and (3) that the


98 Burns v. Martuscello, 890 F.3d 77, 85 (2d Cir. 2018) (citing Jackler v. Byrne, 658 F.3d 225,
   241 (2d Cir. 2011)).
99 Burns, 890 F.3d at 85 (emphasis in original).
100 See Doc. 52 at 70–72.
101 See Doc. 63-1 at 37.
102 Keenan v. Tejeda, 290 F.3d 252, 258 (5th Cir. 2002).



                                              23
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 24 of 52




defendant’s “adverse actions were substantially motivated against” her
exercise of constitutionally protected speech. 103
        Plaintiffs engaged in constitutionally protected activity when they
refused to speak to prosecutors absent a valid court order to do otherwise. 104
Plaintiffs allege injuries in the form of threats of imprisonment that prevented
them from continuing to refuse to speak. 105 It appears, based on the timing of
Plaintiffs’ refusals to speak and the follow-up responses by prosecutors, that
the adverse actions suffered by Plaintiffs were likely motivated by their refusal
to speak. 106 Therefore, Plaintiffs have alleged a constitutional violation. 107
Nevertheless, because Plaintiffs’ right to refuse to speak with prosecutors
absent a court order was not clearly established when the violations occurred,
the Individual Defendants enjoy qualified immunity from the civil damages
sought in these claims.




103 Brooks v. City of W. Point, Miss., 639 F. App’x 986, 989 (5th Cir. 2016) (quoting Keenan,
   290 F.3d at 258)).
104 See Burns, 890 F.3d at 85; Jackler, 658 F.3d at 241.
105 See Izen v. Catalina, 398 F.3d 363, 368 n.5 (5th Cir. 2005) (noting that threatened

   prosecution constitutes in retaliation for an exercise of protected speech constitutes First
   Amendment infringement) (quoting Smith v. Plati, 258 F.3d 1167, 1176 (10th Cir. 2001)).
106 Plaintiff Singleton alleges that prosecutors caused her arrest immediately after she

   refused to answer their questions during a private meeting. Doc. 52 at 42. Plaintiff Mitchell
   alleges that prosecutors caused his arrest because he no longer wished to meet with them
   privately. Id. at 47. Plaintiff Baham alleges that prosecutors caused her arrest because she
   refused to meet with them. Id. at 50. Plaintiffs Doe, Bailey, and LaCroix allege they were
   threatened with arrest for refusing to meet with prosecutors. Id. at 53, 55, 56.
107 Because this Court finds that Plaintiffs have alleged a constitutional violation in this

   regard, their claims for injunctive relief and for monetary damages from Cannizzaro in his
   official capacity remain. That is, they have stated facts to make out plausible First
   Amendment retaliation claims. This holding, however, does not apply to Plaintiff Roe’s
   retaliation claim. The allegations do not show that Roe’s arrest was substantially
   motivated by his refusal to speak. In fact, Roe never refused to speak in the first place. He
   never got the chance because prosecutors never reached him. See Doc. 52 at 58–62. As such,
   Plaintiff Roe has failed to state a First Amendment retaliation claim, and his claim must
   be dismissed.

                                              24
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 25 of 52




        c. Fourteenth Amendment Substantive Due Process Claim
        In Count Five of the Amended Complaint, Plaintiffs allege:
        Each of Defendant Cannizzaro’s official policies, practices and
        customs described above, separately and in combination, shocks
        the conscience and violated the Fourteenth Amendment rights of
        all Plaintiffs and poses an ongoing risk of violating the Fourteenth
        Amendment rights of Plaintiff Baham, Plaintiff Doe, Plaintiff Roe,
        and the rights of Plaintiff Silence Is Violence and its clients. 108
An executive official violates a person’s substantive due process rights when
the official’s conduct is “so egregious, so outrageous, that it may fairly be said
to shock the contemporary conscience.” 109 The burden “to show state conduct
that shocks the conscience is extremely high, requiring stunning evidence of
arbitrariness and caprice that extends beyond mere violations of state law,
even violations resulting from bad faith to something more egregious and more
extreme.” 110 The Supreme Court’s “test for the substantive component of the
due process clause prohibits ‘only the most egregious official conduct,’ and will
rarely come into play.” 111
        Plaintiffs’ allegations that prosecutors manufactured “subpoenas,”
deliberately side-stepping judicial oversight of the subpoena process, appears
to this Court to represent a breed of official misconduct. Claims that the
practice was not only condoned but directed by top prosecutors and the DA
himself only make the allegations more disturbing. This Court believes that



108 Doc. 52 at 73.
109 See Reyes v. N. Texas Tollway Auth., 861 F.3d 558, 562 (5th Cir. 2017) (explaining that
   the Fifth Circuit applies the “shock the conscience” standard instead of rational basis when
   executive conduct is involved).
110 Doe ex rel. Magee v. Covington Cty. Sch. Dist. ex rel. Keys, 675 F.3d 849, 868 (5th Cir.

   2012) (quoting J.R. v. Gloria, 593 F.3d 73, 80 (1st Cir. 2010)).
111 Jordan v. Fisher, 823 F.3d 805, 812–13 (5th Cir. 2016), as revised (June 27, 2016) (quoting

   County of Sacramento v. Lewis, 523 U.S. 833, 846 (1998)).

                                              25
       Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 26 of 52




Plaintiffs’ claims sufficiently shock the conscience such that they allege a
constitutional violation. 112
         Nevertheless, the Individual Defendants are entitled to qualified
immunity on these claims. Plaintiffs fail to cite to any case law suggesting that
the Defendants’ violated a clearly established right of Plaintiffs. In their
opposition to Defendants’ Motion for Summary Judgment, Plaintiffs cite only
to Rochin v. California, in which the Supreme Court held that illegally
breaking into a person’s apartment, attempting to pry open his mouth, and
forcibly extracting the contents of his stomach amounted to conduct that
“shocks the conscience.” 113 This case is distinguishable from Rochin, and it does
not support a finding that the prosecutors in this case violated clearly
established law. Accordingly, the Individual Defendants enjoy qualified
immunity for claims seeking damages based on allegations of substantive due
process violations.
III.     Failure to State a Claim
         The Defendants additionally argue that Plaintiffs’ remaining claims
should be dismissed for failure to state a claim on which relief could be granted.
         a. Fourth Amendment Material Witness Warrant Claims
         Although the Individual Defendants enjoy absolute immunity from civil
damages for Plaintiffs’ claims that the Defendants violated the Fourth
Amendment by abusing the material witness warrant process, claims for
injunctive relief against the Individual Defendants and claims for injunctive
relief and damages against Cannizzaro in his official capacity remain.




112  This finding defeats Defendants’ argument that Plaintiffs have failed to state a
   substantive due process claim upon which relief could be granted.
113 Rochin v. California, 342 U.S. 165, 172 (1952).



                                         26
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 27 of 52




        Plaintiffs Singleton, Baham, Mitchell, Roe, and SIV allege that
Defendants Cannizzaro, Mitchell, Pipes, Napoli, Trummel, Hamilton, and
Dawkins violated the Fourth Amendment by “relying on false allegations,
material omissions, and plainly insufficient factual allegations in applications
for material witness warrants.” 114 Defendants argue that Plaintiffs’ allegations
fail to state a claim on which relief may be granted. 115
        In Franks v. Delaware, the U.S. Supreme Court held that an official
violates the Fourth Amendment when the official makes materially false
statements—either deliberately or with reckless disregard for the truth—in
support of a warrant that are necessary to a court’s finding of probable
cause. 116 The Fifth Circuit has extended the applicability of Franks beyond
affirmatively false statements to material omissions. 117 The Fifth Circuit has
not, however, decided whether Franks extends to material witness warrants.
But other federal courts have held that it does. 118 Because innocent material
witnesses deserve at least as much constitutional protection as criminal
defendants, this Court believes that it is appropriate to extend Franks to
material witness warrants.
        Under Franks, a court must consider whether an official’s statements or
omissions were “necessary to [a] finding of probable cause.” 119 “The test for


114 Doc. 52 at 68.
115 Doc. 63-1 at 31.
116 See Franks v. Delaware, 438 U.S. 154, 155–56 (1978).
117 Michalik v. Hermann, 422 F.3d 252, 258 n.5 (5th Cir. 2005) (“The Fifth Circuit has

   interpreted Franks liability to also include liability for an officer who makes knowing and
   intentional omissions that result in a warrant being issued without probable cause.”)
   (emphasis in original).
118 See, e.g., United States v. Awadallah, 349 F.3d 42, 64 (2d Cir. 2003); Al-Kidd v. Gonzales,

   No. 1:05-093, 2012 WL 4470776, at *4 (D. Idaho Sept. 27, 2012); United States v. Padilla,
   No. 04-60001, 2007 WL 188146, at *2–5 (S.D. Fla. Jan. 22, 2007); Mayfield v. Gonzales, No.
   04-1427, 2005 WL 1801679, at *7 (D. Or. July 28, 2005).
119 Franks, 438 U.S. at 156. It is not clear to this Court whether the Fourth Amendment

   requires a probable cause finding to justify detaining a material witness. See Ashcroft, 563

                                             27
    Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 28 of 52




probable cause is not reducible to ‘precise definition or quantification.’” 120 This
is especially true in the context of material witness warrants. The Sixth and
Ninth Circuits have held that probable cause exists when the statutory pre-
requisites for arresting a material witness have been met. 121 The parties seem
to agree that such a standard is the appropriate one here. 122
       Louisiana’s Material Witness Statute requires prosecutors to show that
a witness’s testimony “is essential to the prosecution” and that “it may become
impracticable to secure the presence of the person by subpoena.” 123 Thus, this
Court believes probable cause exists to detain a material witness in Louisiana
if the facts and circumstances within the knowledge of the prosecutor show
that the witness’s testimony is essential to the state’s case and that it may
become impracticable to secure the witness’s presence at trial by subpoena.




   U.S. at 745 (Kennedy, J., concurring) (“If material witness warrants do not qualify as
   ‘Warrants’ under the Fourth Amendment, then material witness arrests might still be
   governed by the Fourth Amendment’s separate reasonableness requirement for seizures of
   the person.”); Adams v. Hanson, 656 F.3d 397, 408 n.6 (6th Cir. 2011) (“The probable-cause
   standard may be inapplicable, however, because ‘[t]he typical arrest warrant is based on
   probable cause that the arrestee has committed a crime,’ which is not the standard for the
   issuance of material-witness warrants.”) (quoting Ashcroft, 563 U.S. at 745). Faced with
   the exact question, the Third Circuit in Schneyder v. Smith held that material witness
   warrants need only be supported by objective reasonableness, not probable cause. 653 F.3d
   313, 322–25 (3d Cir. 2011); see Torchinsky v. Siwinski, 942 F.2d 257, 261 (4th Cir. 1991)
   (describing the probable cause standard as “more stringent” than the “lower standard” of
   objective reasonableness). Because material witnesses deserve as much protection under
   the Fourth Amendment as criminal defendants and the Third Circuit’s standard has not
   spread into other circuits, this Court will apply the probable cause standard to Plaintiffs’
   Franks claims.
120 Fla. v. Harris, 568 U.S. 237, 243 (2013) (quoting Maryland v. Pringle, 540 U.S. 366, 371

   (2003)).
121 See White by Swafford v. Gerbitz, 892 F.2d 457, 461 (6th Cir. 1989); Perkins, 148 F. Supp.

   2d at 1183 (“The probable cause required by White was a showing that the statutory
   requirements had been met.”) (citing White, 892 F.2d at 461); Bacon v. United States, 449
   F.2d 933, 943 (9th Cir. 1971).
122 See Docs. 63-1 at 27, 67 at 25.
123 LA. REV. STAT. § 15:257.



                                             28
       Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 29 of 52




          Under Franks, to assess whether allegedly false statements and
omissions were necessary to a finding of probable cause, a court must “consider
the faulty affidavit as if those errors and omissions were removed.” 124 A court
must then “examine the ‘corrected affidavit’ and determine whether probable
cause for the issuance of the warrant survives the deleted false statements and
material omissions.” 125 Accordingly, this Court must consider whether
probable cause existed to detain Plaintiffs Singleton, Baham, Mitchell, and Roe
if the allegedly false statements were deleted from, and the allegedly material
omissions were added to, their respective warrant applications.
                 i. Singleton’s Franks claims
          The statement supporting probable cause in the application for
Singleton’s material witness warrant read as follows:
                 The testimony of Singleton is essential to the
                 prosecution of the above entitled case. She is the
                 victim of the simple battery and criminal damage to
                 the property amounting less than $500.
                 The State has reason to fear Singleton will not appear
                 in Court pursuant to a subpoena as she has failed to
                 appear pursuant to an appointment with the
                 undersigned, and she has failed to appear in court at
                 every other trial setting that she was issued a
                 subpoena for.
                 Singleton received improper domiciliary service, as a
                 subpoena was left in the door of the residence of
                 Singleton on March 6, 2015. Singleton did not appear
                 for trial when it was set on March 20, 2015.
                 The undersigned has made attempts to contact
                 Singleton since March 2015. The undersigned
                 attempted to contact Singleton numerous times at the
                 phone number provided by Singleton, to no avail.


124   See Winfrey v. Rogers, 901 F.3d 483, 494–95 (5th Cir. 2018).
125   Id. at 495.

                                               29
Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 30 of 52




       The Sheriff’s Office has made numerous attempts to
       serve Singleton at her primary address with no
       success. They have been to her residence three times
       and have left subpoenas in her door due to no one
       accepting service at the residence on her behalf.
       On April 20, 2015, the undersigned contacted Orleans
       Parish District Attorney’s Office Victim-Witness
       Advocate Amy Jackson, to determine if Jackson
       possessed alternative phone numbers for Singleton.
       The undersigned was informed that Singleton had
       never been cooperative with Victim-Witness Advocate
       Jackson, but did provide the undersigned with an
       alternative phone number for Singleton. The
       undersigned attempted to contact Singleton at the
       alternative phone number, to no avail.
       Orleans Parish District Attorney Investigator Corey
       Porter has made numerous attempts to locate
       Singleton since April 20, 2015. On that day, the
       undersigned, accompanied by Investigator Porter,
       traveled to the last known address for Singleton in an
       attempt to serve Singleton with a subpoena and
       conduct an interview, to no avail.
       On April 21, 2015, Investigator Porter traveled to the
       Astor Crowne Plaza, the last known employer of
       Singleton. Investigator Porter learned that Singleton
       had ceased her employment with the Astor Crowne
       Plaza approximately one month prior.
       On April 21, 2015 Investigator Porter traveled to the
       last known residence of Singleton with a subpoena and
       conduct an interview. Investigator Porter observed a
       Toyota Camry, associated with Singleton, parked in
       the driveway of the residence. Investigator Porter
       knocked on the front door of the residence and waited
       for a response from someone present inside of the
       residence, to no avail. Investigator Porter left two
       subpoenas at the residence for Singleton to appear at
       the District Attorney’s Office on April 24, 2015.




                                30
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 31 of 52




              On April 23, 2015, the undersigned attempted to
              contact Singleton at the last known phone numbers of
              Singleton, to no avail. 126
Singleton objects to the truthfulness of the application on the following
grounds: (1) that it created a misleading impression that Singleton was validly
served with subpoenas for the April 24th trial date; (2) that the “subpoenas”
left by Porter at Singleton’s home were not validly created subpoenas; (3) that
Singleton was not home when sheriff’s deputies attempted to serve her with
subpoenas at her home; and (4) that saying Singleton had “never been
cooperative” with a victim-witness advocate misleadingly suggests Singleton
would not respond to a validly issued subpoena. 127
        The problem with Singleton’s objections is that for the most part they
challenge truthful statements as misleading. The application does not state
that Singleton was ever validly served with a subpoena; it states that she
“received improper domiciliary service” and that subpoenas were left at her
door, which does not imply that proper service occurred. 128 Instead, the
application truthfully conveys that deputies unsuccessfully attempted to serve
Singleton with a subpoena. Similarly, Singleton does not challenge the fact
that she refused to cooperate with the DA’s Office.
        Excluding the allegedly false statements in the warrant that some of the
“subpoenas” left at Singleton’s home were not actually subpoenas, and adding
the omitted allegation that Singleton was not home when service was
attempted on her, does not change the fact that the application as amended
would contain probable cause to arrest Singleton on a material witness
warrant. Such an application would still show that Singleton was a key witness



126 Doc. 63-3.
127 See Doc. 67 at 27–28.
128 See Doc. 63-3.



                                       31
       Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 32 of 52




to the prosecution’s case, that service was attempted on her numerous times
but never accomplished, and that Singleton had not been cooperative with the
investigation by the DA’s Office in the underlying criminal offense against her.
Such statements are sufficient to show that her testimony was essential to the
prosecution’s case and that it may have been impracticable to secure her
testimony by subpoena. As such, Singleton’s Franks claim must fail.
                ii. Mitchell’s Franks claims
          The statement supporting probable cause in the application for
Mitchell’s material witness warrant read as follows:
                    The testimony of Mark Mitchell is essential to the
                    prosecution of the above entitled case.
                    On 4/4/16 Assistant District Attorney’s Mike
                    Trummel, Matthew Hamilton, as well as District
                    Attorney’s Office investigator Pamela Butler, and
                    victim witness counselor Julie Ferguson met with
                    Mark Mitchell outside his place of work. This meeting
                    took place after numerous text messages and phone
                    calls in which Mark Mitchell indicated this would be
                    the last meeting he would have with the District
                    Attorney’s Office and did not want to move forward
                    with the case. At the meeting Mark Mitchell stated
                    the only way in which he would testify was if he was
                    arrested.
                    Mark Mitchell has given statements to the New
                    Orleans Police Department implicating the defendant,
                    Gerard Gray, in the above numbered case. Mark
                    Mitchell has also testified at a trial against Gerard
                    Gray’s codefendant, Jonterry Bernard. 129
Mitchell objects to the truthfulness of the application on the following grounds:
(1) it falsely says Mitchell stated “the only way in which he would testify was
if he was arrested;” (2) it omits that he signed a subpoena during the April 4th



129   Doc. 63-10.

                                             32
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 33 of 52




meeting with prosecutors agreeing to testify in court on April 11, 2016; (3) it
omits that Mitchell had cooperated with prosecutors in the past and had met
with them several times to prepare the case for trial; (3) it omits that Mitchell
had previously testified against the co-defendant in the case; and (4) it omits
that prosecutors had pressured Mitchell to “alter his account of events” to
support the state’s case. 130
        Deleting the allegedly false statements—that Mitchell would only testify
if arrested—and adding the material omissions—that Mitchell had cooperated
with prosecutors in the past and had signed a subpoena in the presence of
prosecutors agreeing to appear in court just two days before the material
witness warrant was issued—to Mitchell’s application, this Court finds that
Mitchell has stated a viable Franks claim. At least one federal district court
has held that omitting the fact that a material witness had previously
cooperated with investigators constitutes a particularly concerning material
omission for Franks purposes. 131 This Court agrees and finds it even more
troubling to omit that the material witness signed a subpoena agreeing to
appear in court just days before prosecutors then sought to jail the witness on
the grounds that securing his testimony by subpoena may be impracticable. If
the allegedly false statement that Mitchell would only testify if arrested is
deleted from the warrant, the only statement left supporting the application
would be the fact that he “did not want to move forward with the case.” 132 That



130 Doc. 67 at 29. Mitchell additionally objects on the ground that prosecutors told the judge
   orally that Mitchell had bought a bus ticket to leave town, but in fact Mitchell had bought
   no such bus ticket. Id. Because no such fact appears in the application, this Court cannot
   consider it as part of Mitchell’s Franks claim.
131 See Al-Kidd, 2012 WL 4470776, at *3 (“In particular, this Court finds the omissions that

   the Plaintiff 1) is a United States citizen with familial and community ties to the United
   States and 2) had previously cooperated with law enforcement were material and necessary
   to the Magistrate Judge’s probable cause determination.”).
132 Doc. 63-10.



                                             33
       Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 34 of 52




statement alone—particularly in light of the material omissions—is not
enough to show probable cause to arrest Mitchell on a material witness
warrant. As such, his Franks claim survives.
               iii. Baham’s Franks claims
          The statement supporting probable cause in the application for Baham’s
material witness warrant read as follows:
                 The testimony of Lazonia Baham is essential to the
                 prosecution of the above entitled case.
                 Lazonia Baham was notified by Orleans Parish
                 District Attorney’s Office Investigator Mike Kitchens
                 that she was an essential witness in the above stated
                 case and would be needed to testify. Ms. Baham
                 refused to meet with ADA Jason Napoli and cut off all
                 communication with the District Attorney’s Office.
                 Despite multiple visits to her home, Ms. Baham
                 refuses to speak with Investigator Kitchens and has
                 refused to return multiple phone calls. The actions of
                 Ms. Baham indicate that she is intentionally avoiding
                 service and will not come to court on her own accord.
                 Lazonia Baham has given statements to the New
                 Orleans Police Department implicating the defendant,
                 Issac Jones, in the above numbered case. 133
Baham objects to the truthfulness of the application based on the following
allegedly intentional and material omissions: (1) that Baham had previously
spoken several times with investigators from the DA’s Office; (2) that the DA’s
Office had pressured her to change her recollection of events to support the
state’s case; (3) that Defendant Napoli had sent Baham “subpoenas;” and (4)
that Baham had stated she would come to court if subpoenaed. 134




133   Doc. 63-8.
134   Doc. 67 at 31.

                                          34
       Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 35 of 52




          Deleting the allegedly false statement—that Baham would not come to
court on her own accord—and adding the material omissions—that she had
previously spoken with investigators several times and that she told
prosecutors she would come to court if subpoenaed—this Court finds that
Baham has stated a viable Franks claim. Baham alleges that she told
prosecutors she would respond to a subpoena. Baham’s refusal to speak with a
DA’s Office investigator, without more, does not indicate that it may have been
impracticable to secure her testimony by subpoena when the application fails
to state whether service had ever been attempted on her and that she had said
she would respond to a subpoena. As such, Baham’s Franks claim survives.
               iv. Roe’s Franks claims
          The statement supporting probable cause in the application for Roe’s
material witness warrant read as follows:
                    The testimony of Roe is essential to the prosecution of
                    the above entitled case. Roe is a named victim in the
                    bill of indictment.
                    The State has reason to fear Roe will not appear in
                    Court. Attempts to reach Roe at his home and by
                    phone by members of the Orleans Parish District
                    Attorney’s Office have been unsuccessful. Messages
                    left for Roe have gone unanswered.
                    Roe has given statements to the New Orleans Police
                    Department implicating the defendant in the above
                    numbered case. 135
Roe objects to the truthfulness of the application on the following grounds: it
omits that (1) he cooperated with police near the time of the incident the DA’s
Office was investigating; (2) despite having notice that Roe had moved,
prosecutors only sent subpoenas to Roe’s old address; (3) neither prosecutors



135   Doc. 63-11.

                                              35
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 36 of 52




nor police had attempted to contact Roe for nearly two years after he first
cooperated in the underlying investigation; and (4) prosecutors “did not make
basic reasonable attempts to locate Roe” such as attempting to reach him
through Facebook. 136 Roe further objects that saying “[a]ttempts to reach [him]
at his home . . . have been unsuccessful” is false because prosecutors knew he
had moved but had not tried to locate him at his new home. 137
        Construing the allegations in the light most favorable to Roe, this Court
will consider the statement regarding attempts to reach him at his home as
false. Deleting that statement from the application and adding the facts that
Roe had been cooperative from the beginning and had simply moved and
changed phone numbers, this Court finds that such an application would not
have shown that it may have been impracticable to secure Roe’s presence in
court via subpoena. Instead, this application merely shows that prosecutors
had trouble tracking down Roe. Failing to respond to subpoenas sent to an old
address and to messages left at a since-changed phone number does not
indicate that Roe would not have responded to a subpoena. As such, Roe’s
Franks claim survives.
        b. First Amendment Compelled Speech Claims
        Even though the Individual Defendants enjoy qualified immunity from
Plaintiffs’ First Amendment compelled speech claims seeking monetary
damages, monetary claims against Cannizzaro in his official capacity and
claims for injunctive relief against the Defendants remain.
        Prosecutors in Louisiana may compel witnesses to meet with them out
of court by securing a subpoena from a judge. 138 Prosecutors do not, however,



136 Doc. 67 at 34.
137 Id.
138 LA. CODE CRIM. P. art 66.



                                       36
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 37 of 52




have the power to force witnesses to talk to them absent a court order. 139 Nor
do they have the power to imprison witnesses who refuse to speak with them
absent a judicially approved material witness warrant, which judges should
only grant when the witness’s testimony is “essential” and the state shows
“that it may become impracticable to secure the presence of the person by
subpoena.” 140
        Plaintiffs Baham, Mitchell, Singleton, Doe, and Roe allege that they
were unlawfully compelled to speak with prosecutors who used fraudulent
shows of authority to secure the presence of the Plaintiffs at private meetings.
Additionally, Plaintiffs Mitchell and Baham allege that the State encouraged
them to change their stories, behavior that could be characterized rather
innocently as a memory recollection effort or more villainously as an attempt
to foster fabricated testimony. 141 At the Motion to Dismiss stage, such
allegations are sufficient to overcome a 12(b)(6) challenge to Plaintiffs’ First
Amendment compelled speech claims against Defendant Cannizzaro in his
official capacity and against the Individual Defendants for injunctive relief.
        The same cannot be said for Plaintiffs Bailey and LaCroix. Neither
woman ever met with prosecutors in response to the receipt of a “subpoena.”
Thus, even if prosecutors attempted to compel them to speak, neither Bailey
nor LaCroix ever spoke in response to such conduct. Plaintiffs’ argue that their
hiring of an attorney to challenge the “subpoenas” represents sufficient
compelled speech to support their claims. This Court disagrees. Plaintiffs
Bailey and LaCroix have failed to state a First Amendment compelled speech
claim that is plausible on its face.



139 See id.
140 See LA. REV. STAT. § 15:257.
141 See Doc. 52 at 46, 50.



                                       37
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 38 of 52




        c. Fourteenth Amendment Prolonged Detention Claims
        Plaintiff Baham alleges that Defendant Napoli violated her Fourteenth
Amendment Due Process rights by causing her to be jailed on a material
witness warrant then refusing to ensure she received a prompt court
appearance. She also alleges an official capacity claim against Defendant
Cannizzaro on the ground that Napoli was following the DA’s allegedly
unlawful policy of causing material witnesses to be deprived of prompt initial
appearances when she sat in jail for more than a week awaiting an initial
appearance following her arrest in 2015. Plaintiffs Doe and Roe seek injunctive
relief against Cannizzaro regarding the same allegedly unlawful policy, and
SIV asserts a prolonged detention claim on the same grounds.
        The Fourteenth Amendment prohibits states from depriving “any person
of life, liberty, or property, without due process of law.” 142 “Prohibition against
improper use of the ‘formal restraints imposed by the criminal process’ lies at
the heart of the liberty interests protected by the Fourteenth Amendment due
process clause.” 143 Said differently, incarcerating a person without sufficient
due process constitutes a textbook Fourteenth Amendment violation.
        In Orleans Parish, however, it is not the responsibility of prosecutors to
ensure that material witnesses receive prompt initial appearances before a
judge. Rule 15.0(12) of the Rules for the Orleans Parish Criminal District Court
provides that “[i]f a material witness warrant of arrest is issued . . . the court
shall require the moving party to file the material witness motion and the
capias/warrant with the Clerk of Court.” Rule 15.0(9) further provides that




142U.S. Const. amend. XIV.
143Jones v. City of Jackson, 203 F.3d 875, 880–81 (5th Cir. 2000) (quoting Board of Regents
  v. Roth, 408 U.S. 564, 575 (1972)).

                                            38
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 39 of 52




“[w]henever a capias has been executed, the clerk shall place the individual on
the docket and jail list of the appropriate Section . . . .”
        Pursuant to Rule 15.0(12), Defendant Napoli filed a material witness
motion before Judge Laurie White that was granted on October 13, 2015. 144
Baham alleges that police arrested her on December 29, 2015. 145 According to
Rule 15.0(9), it then became the clerk of court’s responsibility to place Baham
on the appropriate judge’s docket to be brought to court for an initial
appearance.
        Baham alleges that she was not brought to court for an initial
appearance until January 6, 2016. 146 It is not clear from the record why Baham
spent more than a week in jail before being taken to court for an initial
appearance. What is clear is that it was not the responsibility of prosecutors—
but of the clerk of court—to ensure that Baham received a prompt initial
appearance before a judge. As such, prosecutors cannot be held liable under
the Fourteenth Amendment for allegedly prolonged detentions of material
witnesses. Plaintiffs have thus failed to state a Fourteenth Amendment
prolonged detention claim on which relief could be granted.
IV.     Plaintiffs’ State Law Claims
        a. Abuse of Process
        Plaintiffs allege that Defendants committed the tort of abuse of process
under Louisiana law. Specifically, Plaintiffs allege abuse of the material
witness and investigative subpoena legal processes. Defendants argue that
they are absolutely immune from civil damages for such claims and that the
remaining claims should be dismissed for failure to state a claim.



144 Doc. 63-8 at 2.
145 Doc. 52 at 51.
146 Id.



                                         39
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 40 of 52




               i. Abuse of Process: Louisiana’s Material Witness Statute
        Because Louisiana extends absolute immunity to prosecutors to the
same extent as federal law does, for the reasons explained previously in this
Order and Reasons, Defendants are absolutely immune from civil damages
arising from allegations that they abused the process of the material witness
statute. Claims against Defendant Cannizzaro in his official capacity and those
against the Individual Defendants for injunctive relief remain.
        To succeed on a Louisiana abuse of process claim, a plaintiff must show
an improper willful act in the use of a legal process and the existence of an
ulterior purpose. 147 Plaintiffs allege that prosecutors applied for material
witness warrants—a legal process that exists to secure essential witness
testimony in court—with the ulterior purpose of securing private meetings
with the witnesses outside of court. The material witness statute arms
prosecutors with an extraordinary tool for ensuring that witnesses with
testimony necessary to the state’s case do not skip trial dates. 148 The statute
does not exist as a means of forcing witnesses into private meetings with
prosecutors, which is exactly how Plaintiffs allege that the Defendants abused
the process. Therefore, Plaintiffs’ remaining abuse of process claims survive.
              ii. Abuse of Process: Louisiana’s Investigative Subpoenas
        As previously explained in this Order and Reasons, the Individual
Defendants do not enjoy absolute immunity for the creation and use of
“subpoenas” to obtain out-of-court meetings with witnesses. Plaintiffs allege
that the Defendants flouted the investigative subpoena process provided by


147 See Mills v. City of Bogalusa, No. 13-5477, 2016 WL 2992502, at *14 (E.D. La. May 24,
   2016) (citing Waguespack, Seago and Carmichael v. Lincoln, 768 So. 2d 287, 290–91 (La.
   App. 1 Cir. 2000)).
148 See LA. REV. STAT. § 15:257. See also Ashcroft, 563 U.S. at 749 n.2 (J. Ginsburg, concurring)

   (noting “the importance of vigilant exercise” of judicial oversight when analyzing material
   witness warrant applications)

                                              40
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 41 of 52




Article 66 of the Louisiana Code of Criminal Procedure by serving “subpoenas”
on several of the Plaintiffs with the ulterior purpose of avoiding judicial
oversight. 149 Such allegations amount to an abuse of process. Taken as true,
Plaintiffs’ allegations show that the Defendants did not follow the investigative
subpoena procedure provided for by law and that the reason for such activity
was to avoid judicial oversight. 150 Plaintiffs, therefore, have stated plausible
abuse of process claims involving the investigative subpoena process.
        b. Fraud
        Plaintiffs Singleton, Baham, Doe, Bailey, and LaCroix also make state
law fraud claims against Cannizzaro in his official capacity and against
Defendants Mitchell, Napoli, Petrovich, Rodrigue, Dover, Doe, and Martin in
their individual capacities. A fraud claim under Louisiana law requires a
plaintiff to show that she was injured because she reasonably relied on a
defendant’s intentionally deceiving misrepresentation of material fact. 151
Defendants argue that Plaintiffs’ fail to state a claim because “none of them
actually appeared at the DA’s office as directed.” 152 That is, even if prosecutors
made intentionally deceiving misrepresentations of material fact in the
“subpoenas,”     the   Plaintiffs    suffered    no    injury    because    of   such
misrepresentations.
        As to the fraud claim by Plaintiff Singleton, this Court agrees with
Defendants. Singleton alleges that she did not respond to the “subpoenas” left
at her home. 153 Although she eventually met with prosecutors at the DA’s
Office, Singleton alleges that she attended that meeting under the threat of


149 See LA. CODE CRIM. P. art 66.
150 See Doc. 52 at 75.
151 Schaumburg v. State Farm Mut. Auto. Ins. Co., 421 F. App’x 434, 442 (5th Cir. 2011)

   (citing Wooley v. Lucksinger, 14 So. 3d 311, 378–79 (La. App. 1 Cir. 2008)).
152 Doc. 63-1 at 43.
153 See Doc. 52 at 41–42.



                                          41
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 42 of 52




arrest pursuant to a material witness warrant. In fact, Singleton alleges that
she ignored the “subpoenas” on the advice of a friend. 154 Any injuries alleged
by Singleton, then, did not occur because of her reliance on alleged
misrepresentations made by prosecutors. Her fraud claims must fail.
        The same reasoning warrants the dismissal of Plaintiff Baham’s fraud
claim. She also chose not to respond to the “subpoenas” sent to her. 155 Any
harm alleged by her was not because of misrepresentations in the “subpoenas.”
        The allegations by Plaintiffs Doe, Bailey, and LaCroix differ in a
materially different respect. Each of these Plaintiffs allege that they hired
private attorneys in direct response to being served with “subpoenas.” That is,
they suffered an injury—the cost of a private attorney—because they
reasonably relied on the threats of fines and imprisonments that appeared as
intentionally deceptive material misrepresentations within the “subpoenas.”
Defendants have cited to no case law suggesting that such an injury is
insufficient to establish a fraud claim under Louisiana law. At this early stage
in the proceedings, Plaintiffs Doe, Bailey, and LaCroix have pleaded sufficient
facts to support their fraud claims to survive Defendants’ 12(b)(6) challenge.
V.      SIV’s Claims
        SIV alleges federal and state law claims based both on violations of its
own rights and separately for violations of the rights of its clients. 156
Defendants move to dismiss these claims on the ground that SIV “has failed to
adequately allege any actionable violation of its own rights or the rights of its
‘clients.’” 157




154 See id. at 40.
155 See id. at 50.
156 See Doc. 52.
157 Doc. 63-1 at 46.



                                       42
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 43 of 52




        a. SIV’s First Amendment Retaliation Claim
        Because Defendant Cannizzaro enjoys absolute immunity for his threats
of prosecution to SIV, its claims against him seeking civil damages must be
dismissed. SIV’s claims against Cannizzaro in his official capacity and for
injunctive relief based on the DA’s Office’s allegedly unlawful policy of
retaliation, however, are sufficient to overcome Defendants’ 12(b)(6) challenge
for the same reason such claims by the other Plaintiffs survive.
        b. SIV’s Other Federal Claims
        Defendants move to dismiss SIV’s remaining federal claims on two
separate grounds. First, Defendants argue that SIV’s claims on behalf of its
clients must fail because Plaintiff Mitchell is SIV’s only client identified by
name in the Amended Complaint, and “his claims fail for all the reasons
explained [in the Motion to Dismiss].” 158 This Court has already decided that
some of Plaintiff Mitchell’s claims survive Defendants’ Motion. Additionally,
Defendants have cited to no case law providing that SIV cannot make claims
on behalf of clients who are mentioned without a name in the Amended
Complaint. 159 As such, SIV’s claims on behalf of its clients survive.
        Second, Defendants argue that SIV’s own claims must be dismissed
because SIV has not “adequately alleged facts showing that its own rights were
violated.” 160 Under the doctrine of organizational standing, however, an entity
may bring claims “where it devotes resources to counteract a defendant’s
allegedly unlawful practices.” 161 The allegedly unlawful activity need not




158 See Doc. 63-1 at 46.
159 See id.
160 Id. at 46.
161 Scott v. Schedler, 771 F.3d 831, 837 (5th Cir. 2014) (quoting Ass’n of Cmty. Organizations

   for Reform Now v. Fowler, 178 F.3d 350, 360 (5th Cir. 1999)).

                                             43
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 44 of 52




violate the organization’s own rights. 162 Instead, all an organization must show
is “that it has suffered a concrete and demonstrable, and redressable, injury as
a direct result of the defendant’s allegedly illegal conduct.” 163
        Here, SIV alleges that it was forced to devote resources to educating and
representing witnesses and victims of crime because of the allegedly unlawful
policies of the DA’s Office. It need not—and indeed does not appear to—allege
violations of its own constitutional rights to bring claims against
Defendants. 164 At the pleadings stage, SIV’s allegations are sufficient to state
claims on which relief could be granted. 165
        This Court recognizes that Defendants do not challenge SIV’s Article III
standing in their Motion to Dismiss, and that in their Reply brief they
expressly reserved such a challenge. 166 Thus, Defendants may challenge both
SIV’s “associational” standing—its standing to bring claims on behalf of its
clients—and SIV’s organizational standing at a later juncture. 167
        c. SIV’s State Law Claims
        As an initial matter, Defendants’ do not appear to challenge SIV’s fraud
claims under Louisiana law in their Motion to Dismiss except to argue that


162 See, e.g., Latino All. for Human Rights v. Governor of Georgia, 691 F.3d 1250, 1260 (11th
   Cir. 2012) (holding that organizations alleging redirection of resources caused by allegedly
   unconstitutional statute resulted in organizational standing for plaintiffs); Friendly House
   v. Whiting, No. 10-1061, 2010 WL 11452277, at *6 (D. Ariz. Oct. 8, 2010) (“The
   organizational Plaintiffs have sufficiently alleged that the civil rights violations they claim
   will . . . require, or have already required, them to divert resources and that the violations
   will injure their organizational missions. Plaintiffs have alleged a sufficient injury in fact
   for purposes of standing to raise their civil rights claims.”).
163 Fowler, 178 F.3d at 361 n.7.
164 See Doc. 67 at 31.
165 See, e.g., OCA-Greater Houston v. Texas, 867 F.3d 604, 612 (5th Cir. 2017) (finding that

   an organization possessed organizational standing where it alleged that “its time and
   resources [were spent] in a way they would not have been spent absent” the challenged
   law).
166 See Docs. 63-1; 88 at 21.
167 See OCA-Greater Houston, 867 F.3d at 610 (explaining the difference between

   associational and organizational standing).

                                               44
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 45 of 52




such claims are barred by absolute immunity. 168 This Court has already
decided that Defendants’ alleged creation and use of “subpoenas” is not covered
by absolute immunity. Because that is the alleged conduct that underlies
Plaintiffs’ fraud claims, Defendants do not enjoy absolute immunity from SIV’s
fraud claims.
        Regarding SIV’s abuse of process claims, Defendants argue that such
claims should fail because “SIV cannot satisfy the basic tort-law requirement
of causation.” 169 In support, Defendant argues that the redirection of resources
“fails, as a matter of law, to allege a harm that was directly caused by
Defendants.” 170 Defendants cite to no case law to support this argument.
        SIV alleges that Defendants’ use of “subpoenas” and misuse of the
material witness warrant statute caused SIV to re-direct resources away from
its core mission to “ensur[e] that victims of crime are not victimized again by
the District Attorney’s Office.” 171 More specifically, SIV has alleged that
Defendants abused the legal process necessary for material witness warrants
and investigative subpoenas, that such abuses were done with the ulterior
purpose of coercing victims and witnesses of crimes into out-of-court meetings,
and that SIV suffered damages by having to re-allocate its resources because
of the alleged violations. At the pleadings stage, such allegations are sufficient
to state abuse of process claims under Louisiana law. Therefore, SIV’s abuse of
process claims survive to the extent they are not barred by absolute
immunity. 172



168 See Doc. 63-1 at 48.
169 Id.
170 Id.
171 Doc. 52 at 67.
172 For the same reasons that the other Plaintiffs’ abuse of process claims regarding the

   alleged misuse of the material witness warrant statute are barred by absolute immunity,
   so too are SIV’s.

                                           45
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 46 of 52




VI.     Prescription
        The Defendants also argue that most of the claims by Plaintiffs
Singleton, Mitchell, Baham, and Doe are prescribed. Plaintiffs respond that
they had no reason to know the critical facts underlying their claims more than
a year before they filed suit, and that in any event Louisiana tolling principles
prevented their claims from prescribing. 173
        a. § 1983 Claims
        Although Section 1983 provides a federal cause of action, federal courts
look to state law to determine the statute of limitations for such claims. 174 In
particular, federal courts apply the prescriptive period that the state in which
the cause of action arose provides for personal injury torts. 175 In Louisiana, the
relevant time period is one year from the day the injury was suffered. 176
Federal courts also apply state tolling principles to § 1983 claims. 177
        It is federal law, however, that determines when a § 1983 actions
accrues. 178 When determining what accrual period applies to a § 1983 claim,
courts “look first to the common law of torts” for guidance. 179 That is, courts
determine which tort the § 1983 claim most resembles then apply the relevant
accrual period for that tort to the § 1983 claim. In no instance, however, would
the accrual period begin before the Plaintiffs had knowledge of the facts that



173 See Doc. 67.
174 Wallace v. Kato, 549 U.S. 384, 387 (2007) (“Section 1983 provides a federal cause of action,
   but . . . the statute of limitations . . . is that which the State provides for personal-injury
   torts.”).
175 Id.
176 LA. CIV. CODE art. 3492.
177 King-White v. Humble Indep. Sch. Dist., 803 F.3d 754, 764 (5th Cir. 2015) (“We have

   accordingly recognized that state equitable tolling principles control in § 1983 cases.”)
   (internal citations omitted).
178 Wallace, 549 U.S. at 388 (“[T]he accrual date of a § 1983 cause of action is a question of

   federal law that is not resolved by reference to state law.”).
179 Manuel v. City of Joliet, Ill., 137 S. Ct. 911, 920 (2017).



                                               46
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 47 of 52




caused their respective injuries. “Under federal law, a cause of action accrues
when the plaintiff knows or has reason to know of the injury which is the basis
of the action. The statute of limitations therefore begins to run when the
plaintiff is in possession of the critical facts that he has been hurt and who has
inflicted the injury.” 180
              i. Singleton, Baham, and Doe’s Claims
        Defendants argue that Plaintiffs Singleton, Baham, and Doe’s § 1983
claims are prescribed because the alleged misconduct underlying those
allegations occurred more than one year before Plaintiffs filed suit. Plaintiffs
respond that they had no reason to know of the critical facts underlying their
claims—that the “subpoenas” delivered to them were not lawfully created—
until The Lens published a story in April 2017 publicly revealing, for the first
time, the use of “subpoenas” by prosecutors in Cannizzaro’s office. At this early
stage in the proceedings, this Court agrees. Absent the “subpoenas,” Plaintiffs’
claims would disappear. To say the Plaintiffs had reason to know documents
designed to appear authentic were in fact fraudulent before such information
became more widely known would stretch the “reason to know” standard too
broadly. Taken as true, Plaintiffs Singleton, Baham, and Doe’s allegations
show they had no reason to know of the critical facts underlying their claims
until at least April 2017, which was less than a year before they filed suit.
             ii. Mitchell’s Claims
        Defendants also argue that Plaintiff Mitchell’s § 1983 claims are
prescribed because he filed suit more than a year after the alleged conduct
underlying his claims occurred. Mitchell responds that he had no reason to



180Martinez v. Hidalgo Cty., Texas, 727 F. App’x 77, 78 (5th Cir. 2018) (quoting Piotrowski
  v. City of Houston, 237 F.3d 567, 576 (5th Cir. 2001)) (internal quotations and citations
  omitted).

                                            47
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 48 of 52




know about the alleged misstatements in the application for the material
witness warrant on which he was arrested—the conduct underlying his
claims—because the application was not legally attainable until September
2017, which was less than a year before he filed suit. Even so, Defendants
argue, Mitchell had reason to know about his claims because of a meeting he
had with Orleans Parish Criminal District Court Judge Laurie White. Mitchell
alleges that Judge White told him during the meeting “she wanted to apologize
for what had happened to him, and . . . prosecutors had misled her.” 181 The
meeting allegedly occurred “shortly after” an April 2016 trial. 182
        As an initial matter, it is not exactly clear when the meeting with Judge
White took place. But even assuming it took place more than a year before the
initial Complaint was filed in this case in October 2017, this Court does not
have before it sufficient evidence to determine whether anything that
transpired during that meeting resulted in Mitchell having reason to know
about his claims. Mitchell alleges that he “did not know” critical facts necessary
to his claim until less than a year before he filed suit. 183 Defendants have not
presented sufficient evidence to overcome this allegation at the Motion to
Dismiss stage.
        b. State Law Claims
        Defendants also argue that state law abuse of process and fraud claims
by Plaintiffs Singleton, Mitchell, Baham, and Doe are prescribed. These claims
are subject to a one-year prescriptive period. 184 The conduct underlying



181 Doc. 52 at 48.
182 See id.
183 Id. at 49.
184 See No Drama, LLC v. Caluda, 177 So. 3d 747, 751–52 (La. App. 5 Cir. 2015) (holding that

   abuse of process claims are subject to a one-year prescriptive period); Cerullo v. Heisser,
   213 So. 3d 1232, 1236 (La. App. 5 Cir. 2017) (holding that fraud claims are subject to a one-
   year prescriptive period).

                                              48
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 49 of 52




Plaintiffs’ claims occurred more than one year before Plaintiffs filed suit. 185
Plaintiffs’ state law claims, then, are facially prescribed.
        “When a petition reveals on its face that prescription has run, the
plaintiff has the burden of showing why the claim has not prescribed.” 186
Plaintiffs cite to Louisiana’s doctrine of contra non valentem to support their
argument that their claims—even though facially prescribed—are not time-
barred under Louisiana law.
        “[T]he doctrine of contra non valentem . . . is an exception to the general
rules of prescription.” 187 The doctrine requires that prescription be suspended
under “principles of equity and justice” when a plaintiff is “effectually
prevented from enforcing his rights for reasons external to his own will.” 188
There are four different situations in which the doctrine may apply. 189
Plaintiffs argue that two apply here: fraudulent concealment and the discovery
rule. 190
        “[T]he discovery rule . . . provides that prescription commences on the
date the injured party discovers or should have discovered the facts upon which
his cause of action is based.” 191 “[T]he ultimate issue in determining whether
a plaintiff had constructive knowledge sufficient to commence a prescriptive
period is the reasonableness of the plaintiff’s action or inaction in light of his
education, intelligence, and the nature of the defendant’s conduct.” 192




185 See Doc. 52.
186 Wimberly v. Gatch, 635 So. 2d 206, 211 (La. 1994).
187 Id.
188 Id.
189 Id.
190 See id. at 211–12 (recognizing fraudulent concealment and the discovery rule as two of the

   four situations in which contra non valentem may suspend prescription).
191 Id. at 211.
192 Marin v. Exxon Mobil Corp., 48 So. 3d 234, 246 (La. 2010).



                                             49
      Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 50 of 52




        The Louisiana Supreme Court has noted that the doctrine of contra non
valentem should only be applied in “exceptional circumstances.” 193 This Court
believes this case presents just such circumstances. Plaintiffs—none of whom
had any experience in law—allege that the Defendants abused their authority
by skirting legal requirements to coerce Plaintiffs to meet with prosecutors
outside of court. 194 Plaintiffs reasonably believed they had to do what
prosecutors told them. For the same reasons that Plaintiffs’ § 1983 claims are
not prescribed at this time, neither are their state law claims. The Defendants
have not presented sufficient evidence to contradict Plaintiffs’ allegations that
they should have known about the critical facts necessary to their claims more
than a year before they filed suit. Plaintiffs’ inaction was reasonable
considering their relatively limited education and experience in criminal law
and Defendants’ allegedly fraudulent behavior. For the purposes of this Motion
to    Dismiss,    Louisiana’s      discovery     rule    suspended       prescription      from
commencing on Plaintiffs’ state law claims until information about the alleged
practices of Cannizzaro’s office became widely known beginning in April
2017. 195 Therefore, Defendants are not entitled to dismissal of any of Plaintiffs’
remaining claims on prescription grounds. 196


193 Id. at 245 (La. 2010) (quoting Renfroe v. State ex rel. Dept. of Transp. and Development,
   809 So. 2d 947, 953 (La. 2002)).
194 See Doc. 67 at 13.
195 Even though Plaintiff Mitchell’s claims do not involve receipt of a “subpoena,” for the same

   reasons his § 1983 claims are not prescribed, neither are his state law claims.
196 Even if the discovery rule did not apply to Plaintiffs’ state law claims, the fraudulent

   concealment rule would. Claims by each of the relevant Plaintiffs involve allegations that
   the Defendants engaged in fraud, that the fraud effectually prevented them from pursuing
   their claims, and that it was reasonable for them to delay in filing suit. See Prevo v. State
   ex rel. Dep’t of Pub. Safety & Corr. Div. of Prob. & Parole, 187 So. 3d 395, 398–99 (La. 2015)
   (listing the elements of a fraudulent concealment contra non valentem claim); Harvey v.
   Davis, 432 So. 2d 1203, 1204 (La. App. 4 Cir. 1983) (affirming trial court’s application of
   fraudulent concealment rule where plaintiffs alleged that the defendants engaged in a
   scheme to intentionally conceal facts necessary to plaintiffs’ claims in a medical
   malpractice case).

                                              50
   Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 51 of 52




                               CONCLUSION
     For the foregoing reasons, Defendants’ Motion is GRANTED IN PART.
The following claims remain:


        • Count I: Plaintiffs Mitchell, Baham, and Roe’s § 1983 claims under
           Franks for injunctive relief and damages against Cannizzaro in his
           official capacity and those seeking injunctive relief against
           Defendants Napoli, Trummel, Hamilton, and Dawkins in their
           individual capacities
        • Count II: Plaintiffs Doe and SIV’s § 1983 claims seeking injunctive
           relief against Cannizzaro in his official capacity for the creation
           and use of “subpoenas”
        • Count III: Plaintiffs’ § 1983 compelled speech and retaliation
           claims seeking damages and injunctive relief against Cannizzaro
           in his official capacity, and Plaintiffs’ § 1983 retaliation claims
           seeking injunctive relief against Defendants Napoli, Dover, and
           Dawkins in their individual capacities
        • Count V: Plaintiffs’ § 1983 substantive due process claims seeking
           damages and injunctive relief against Cannizzaro in his official
           capacity
        • Counts VI and VII: Plaintiffs’ § 1983 failure to supervise and
           failure to intervene claims seeking monetary damages and
           injunctive relief from Defendants Cannizzaro, Martin, and Pipes
           in their individual capacities and seeking monetary damages and
           injunctive relief against Cannizzaro in his individual capacity
           regarding the alleged creation and use of “subpoenas,” and
           Plaintiffs’ § 1983 claims seeking damages from Cannizzaro in his


                                     51
   Case 2:17-cv-10721-JTM-JVM Document 116 Filed 02/28/19 Page 52 of 52




           official capacity and seeking injunctive relief from Cannizzaro,
           Pipes, and Martin for all other claims for which this Court found
           that Plaintiffs adequately alleged a constitutional violation
        • Count VIII: Plaintiffs’ abuse of process claims except those seeking
           civil damages against the Individual Defendants based on
           prosecutors alleged abuse of Louisiana’s Material Witness Statute
        • Count IX: Fraud claims by Plaintiffs Doe, Bailey, LaCroix, and SIV
           against Cannizzaro in his official capacity and against Defendants
           Martin, Dover, Petrovich, and Rodrigue in their individual
           capacities


Plaintiffs’ claims not specifically listed above are hereby DISMISSED.


                   New Orleans, Louisiana this 28th day of February, 2019.




                                   ____________________________________
                                   JANE TRICHE MILAZZO
                                   UNITED STATES DISTRICT JUDGE




                                     52
